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1                                                                       Judge Martinez
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5
                                 UNITED STATES DISTRICT COURT
6                               WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
7
     UNITED STATES OF AMERICA,                     )
8                                                  )      NO. CR06-127RSM
                              Plaintiff,           )
9                                                  )
                v.                                 )      ORDER CONTINUING
10                                                 )      TRIAL DATE
     JOSHUA S. MACKE and                           )
11   JAMIE L. MACKE,                               )
                                                   )
12                            Defendants.          )
                                                   )
13                                                 )
14              This matter having come before the undersigned Court by stipulation and motion
15   of counsel, the United States through the United States Attorney for the Western District
16   of Washington, Susan M. Roe, Assistant United States Attorney for said district, and
17   Joshua Macke by and through his attorney David Gehrke and Jamie Macke by and
18   through her attorney Stewart Riley, the Court being fully advised in the matter, now finds
19   that
20              The trial was scheduled for July 10, 2006. The defendants are each waiving his
21   or her speedy trial rights until September 25, 2006, which is beyond the new trial date of
22   September 11, 2006. The motion is made because there is a strong possibility that the
23   matter will resolve short of trial as to both defendants, however, the schedules of counsel
24   has delayed the resolution.
25              All counsel have been diligent in addressing this matter, however resolution of this
26   matter is affected by a continuing investigation into many other targets. The complicated
27   facts of the investigation and of other targets delay determination of the parameters of
28   these defendants’ culpability. Further investigation may tend to exculpate one of these

     ORDER/MACKES - 1                                                               UNITED STATES ATTORNEY
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1    defendants and both defendants stand to benefit by further investigation. After more
2    investigation, the attorneys may need additional time for discussion and additional
3    necessary attorney-counsel discussion. None of this can be accomplished satisfactorily
4    prior to trial
5               All parties believe that with the continuance, this matter will be handled other than
6    with a trial and that the continuance may be to the defendants’ benefit.
7               The Court is aware that time limitations for trial and speedy trial concerns are set
8    forth in Title 18, United States Code, Section 3161.
9               Section 3161(h) outlines the periods of excludable time, including:
10                     (8)(A) Any period of delay resulting from a continuance
                       granted by any judge on his own motion or at the request of
11                     the defendant or his counsel or at the request of the attorney
                       for the Government, if the judge granted such continuance on
12                     the basis of his findings that the ends of justice served by
                       taking such action outweigh the best interest of the public and
13                     the defendant in a speedy trial. No such period of delay
                       resulting from a continuance granted by the court in
14                     accordance with this paragraph shall be excludable under this
                       subsection unless the court sets forth, in the record of the
15                     case, either orally or in writing, its reasons for finding that the
                       ends of justice served by the granting of such continuance
16                     outweigh the best interests of the public and the defendant in
                       a speedy trial.
17

18              In this matter, the Court finds that further time is reasonable and necessary as the
19   requested time is within the speedy trial time period. Further, that the ends of justice,
20   especially those which deal with consideration of victims and witnesses, are served by the
21   requested continuance as this Title 21 trial has few civilian witnesses and no known
22   victims. Therefore, the trial date is continued from July 10, 2006 until
23   September 11, 2006.
24              Dated this 7th day of July, 2006.
25

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                                                            A
                                                            RICARDO S. MARTINEZ
                                                            UNITED STATES DISTRICT JUDGE
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     Presented by:
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